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IN THE UNITED STATES DISTRICT COURT FOR THE

WESTERN DISTRICT OF OKLAHOMA = L = D

UNITED STATES OF AMERICA, NOV 07 2018

* GARMELITA REEDER SHINN, CLERK

Plaintiff,

-VS- No. CR-18-227-SLP

a/k/a Joseph Allen Maldonado, 18 U.S.C. § 2

a/k/a Joseph Allen Schreibvogel, 16 U.S.C. § 1538(a)(1)(B)

a/k/a “Joe Exotic,” 16 U.S.C. § 1538(a)(1)(F)
16 U.S.C. § 3372(d)(2)

16 U.S.C. § 3373(d)(3)(A)(ii)

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JOSEPH MALDONADO-PASSAGE, ) Violations: 18 U.S.C. § 1958(a)

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Defendant. )

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SUPERSEDING INDICTMENT

 

The Federal Grand Jury charges:

At all times relevant to this Superseding Indictment:

Introduction

1. Defendant JOSEPH MALDONADO-PASSAGE was a resident of the
Western District of Oklahoma. He owned and/or operated an exotic animal park in
Wynnewood, Oklahoma.

De C.B. was a resident of the state of Florida.

ae MALDONADO-PASSAGE and C.B. had an ongoing dispute regarding the
proper care, exhibition, and breeding practices for big cats, such as tigers and lions. Until
2011, the dispute was carried on primarily through traditional and social media.

4. In or about January 2011, C.B. and her related business entities filed a civil

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lawsuit against MALDONADO-PASSAGE and his related business entities.

5. In or about February 2013, the civil litigation resulted in the court entering a
money judgment in excess of $1 million against MALDONADO-PASSAGE. Since that
time, and continuing until the present, C.B. and her related business entities have been
attempting to collect on the money judgment against MALDONADO-PASSAGE and his
related business entities and their successor entities.

6. Beginning at least by January 2012, MALDONADO-PASSAGE posted
content online, including on Facebook and YouTube websites, containing threats of
violence against C.B.

Laws Pertaining to Wildlife

7. The Endangered Species Act (“ESA”) provided a legal framework for the
protection of endangered and threatened wildlife found within the United States. The .
Secretary of the Interior determined which species were endangered or threatened under
the ESA. The Secretary of the Interior delegated the authority to administer endangered
and threatened species permit matters to the Director of the U.S. Fish and Wildlife Service.
The Service’s Division of Management Authority administered the permit program for the
import or export of listed species, the sale or offer for sale in interstate and foreign
commerce for non-native listed species, and the “taking” of non-native listed wildlife
within the United States.

8. All species and subspecies of tigers, Panthera tigris, were listed as
endangered under the ESA. 50 C.F.R. § 17.11.

9. All species of lemurs, Lemuridae, were listed as endangered under the ESA.

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50 C.F.R. § 17.11.

10. Effective January 22, 2016, one subspecies of lion, Panthera leo leo, was
listed as endangered under the ESA. 50 C.F.R. § 17.11. Another subspecies of lion,
Panthera leo melanochaita, was listed as threatened under the ESA. 50 C.F.R. § 17.11.
The prohibitions applicable to endangered species were also applicable to Panthera leo
melanochaita. 50 C.F.R. §§ 17.40(r), 17.31(a), and 17.21.

11. The ESA makes it illegal to “take” any endangered species of wildlife within
the United States. 16 U.S.C. § 1538(a)(1)(B). “Take” is defined as “harass, harm, pursue,
hunt, shoot, wound, kill, trap, capture, or collect, or to attempt to engage in any such
conduct.” 16 U.S.C. § 1532(19).

12. The ESA makes it illegal to “sell or offer for sale in interstate or foreign
commerce” any endangered species of wildlife. 16 U.S.C. § 1538(a)(1)(F).

13. The ESA makes it illegal for “any person subject to the jurisdiction of the
United States to attempt to commit, solicit another to commit, or cause to be committed,
any offense” under the ESA. 16 U.S.C. § 1538(g).

14. A person could become authorized to conduct activities otherwise prohibited
under the ESA, such as taking and sales in interstate commerce, only if that person either
obtained a specific permit from the U.S. Fish and Wildlife Service or became registered
under the Service’s Captive-Bred Wildlife (CBW) regulations. Issuance of an ESA permit
and CBW registration require the applicant to demonstrate that his/her activities will
enhance the propagation or survival of the species. See 50 C.F.R. § 17.21.

15. Effective May 5, 2016, the CBW regulations applied to all tigers, including

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inter-subspecific crossed or “generic” tigers.

16. The Lacey Act makes it illegal for “any person to make or submit any false
record, account, or label for, or any false identification of, any fish, wildlife, or plant which
has been, or is intended to be . . . transported in interstate or foreign commerce.” 16 U.S.C.
§ 3372(d)(2).

17. MALDONADO-PASSAGE did not obtain any ESA permits from the U.S.
Fish and Wildlife Service and was not registered under the CBW regulations.

Count 1
(Use of Interstate Commerce Facilities in the Commission of Murder-for-Hire)

18. The Federal Grand Jury incorporates paragraphs 1-6 by reference.

19. At least by early November 2017, MALDONADO-PASSAGE inquired of
Individual 1 whether Individual 1 would travel to Florida to murder C.B. in exchange for
a sum of money. Individual 1 told MALDONADO-PASSAGE that he would travel to
Florida to murder C.B. in exchange for a sum of money.

20. On or about November 6, 2017, MALDONADO-PASSAGE caused
Individual 1 to travel from the Western District of Oklahoma to Dallas, Texas, to obtain a
fake identification card for use in a proposed plot for Individual 1 to travel to Florida to
murder C.B.

21. Onorabout November 25, 2017, MALDONADO-PASSAGE used the U.S.
Postal Service to mail Individual 1’s cell phone from the Western District of Oklahoma to
Nevada to conceal Individual 1’s involvement in a proposed plot to murder C.B. in Florida.

22. On or about November 25, 2017, in the Western District of Oklahoma,
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MALDONADO-PASSAGE gave Individual 1 approximately $3,000 in cash in exchange
for Individual 1’s agreement to travel to Florida to murder C.B. MALDONADO-
PASSAGE had obtained the cash the previous day from the sale of a big cat.
MALDONADO-PASSAGE promised to pay Individual 1 thousands of dollars more after
Individual 1 murdered C.B.

23. MALDONADO-PASSAGE agreed with Individual 1 that Individual 1
would travel from the Western District of Oklahoma to South Carolina, and then to Florida,
to murder C.B.

24. On or about November 26, 2017, Individual 1 traveled from the Western
District of Oklahoma to South Carolina.

25. No physical harm came to C.B. as a result of MALDONADO-PASSAGE?’s
proposed plot for her murder.

26. In or about November 2017, in the Western District of Oklahoma and
elsewhere,

JOSEPH MALDONADO-PASSAGE,
a/k/a Joseph Allen Maldonado,

a/k/a Joseph Allen Schreibvogel,
a/k/a “Joe Exotic,”

 

 

caused another person to travel in interstate commerce, used and caused another person to
use the mail, and used and caused another person to use any facility of interstate commerce,
with intent that the murder of C.B. be committed in violation of the laws of the state of
Oklahoma and the state of Florida as consideration for the receipt of, and as consideration

for a promise and agreement to pay, anything of pecuniary value.
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All in violation of Title 18, United States Code, Section 1958(a), and Title 18,

United States Code, Section 2.

Count 2
(Use of Interstate Commerce Facilities in the Commission of Murder-for-Hire)

27. The Federal Grand Jury incorporates paragraphs 1-6 by reference.

28. Beginning in approximately July 2016, and continuing through
approximately March 2018, MALDONADO-PASSAGE repeatedly asked Individual 2
whether Individual 2 could find someone to murder C.B. in exchange for a sum of money.

29. On or about December 5, 2017, Individual 2 called from his cell phone and
spoke with MALDONADO-PASSAGE on his cell phone. Individual 2 offered to
introduce MALDONADO-PASSAGE to a person who would be willing to murder C.B.
in exchange for a sum of money. MALDONADO-PASSAGE agreed to the meeting.

30. On or about December 8, 2017, Individual 2 introduced MALDONADO-
PASSAGE to an undercover FBI agent, and together the three individuals discussed the
details of MALDONADO-PASSAGE’s proposed plot to murder C.B.

31. On various dates from December 2017 to March 2018, MALDONADO-
PASSAGE used his cell phone to speak with Individual 2 on his cell phone about using
the undercover FBI agent to murder C.B.

32. No physical harm came to C.B. as a result of MALDONADO-PASSAGE’s
proposed plot for her murder.

33. Beginning at least by December 5, 2017, and continuing through about

March 2018, in the Western District of Oklahoma,
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JOSEPH MALDONADO-PASSAGE,
a/k/a Joseph Allen Maldonado,
a/k/a Joseph Allen Schreibvogel,
a/k/a “Joe Exotic,”

 

 

used and caused another person to use any facility of interstate commerce, with intent that
the murder of C.B. be committed in violation of the laws of the state of Oklahoma and the
state of Florida as consideration for the receipt of, and as consideration for a promise and
agreement to pay, anything of pecuniary value.

All in violation of Title 18, United States Code, Section 1958(a), and Title 18,
United States Code, Section 2.

Counts 3-7
(Violation of the Endangered Species Act)

34. |The Federal Grand Jury incorporates paragraphs | and 7-17 by reference.

35. In or around October 2017, MALDONADO-PASSAGE anticipated the
arrival of certain big cats that were to be boarded for a fee at the exotic animal park.
MALDONADO-PASSAGE needed empty cages to house the big cats.

36. In or around October 2017, in the Western District of Oklahoma,

 

JOSEPH MALDONADO-PASSAGE,
a/k/a Joseph Allen Maldonado,
a/k/a Joseph Allen Schreibvogel,
a/k/a “Joe Exotic,”

 

knowingly and unlawfully took the following endangered species of wildlife, by shooting

and killing them:
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Count Endangered Species
3 Tiger (Panthera tigris) #1
4 Tiger (Panthera tigris) #2
5 Tiger (Panthera tigris) #3
6 Tiger (Panthera tigris) #4
7 Tiger (Panthera tigris) #5

 

 

 

 

 

 

 

 

 

Allin violation of Title 16, United States Code, Section 1538(a)(1)(B), and Title 18,

United States Code, Section 2.

Count 8
(Violation of the Endangered Species Act)

37. The Federal Grand Jury incorporates paragraphs 1 and 7-17 by reference.
38. Onor about October 30, 2017, in the Western District of Oklahoma and

elsewhere,

 

JOSEPH MALDONADO-PASSAGE,
a/k/a Joseph Allen Maldonado,
a/k/a Joseph Allen Schreibvogel,
a/k/a “Joe Exotic,”

 

knowingly and unlawfully offered for sale in interstate commerce endangered species of
wildlife, namely two tiger cubs (Panthera tigris).
All in violation of Title 16, United States Code, Section 1538(a)(1)(F), and Title 18,

United States Code, Section 2.

Counts 9-11
(Violation of the Endangered Species Act)

39. The Federal Grand Jury incorporates paragraphs 1 and 7-17 by reference.

40. On or about the following dates, in the Western District of Oklahoma and

elsewhere,
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JOSEPH MALDONADO-PASSAGE,
a/k/a Joseph Allen Maldonado,
a/k/a Joseph Allen Schreibvogel,
a/k/a “Joe Exotic,”

 

 

knowingly and unlawfully sold in interstate commerce from the Western District of

Oklahoma to the following destinations, the following endangered species of wildlife:

 

 

 

 

 

 

 

 

 

Count | Date Animal Recipient/
Destination
9 11/16/16 | Tiger, male, cub Brown Zoo, Illinois
10 2/3/18 | Tiger, female, 11 weeks old T.S., Indiana
11 3/6/18 | Tiger, female, 6 weeks old Brown’s Oakridge Zoo, Illinois

 

All in violation of Title 16, United States Code, Section 1538(a)(1)(F), and Title 18,
United States Code, Section 2.

Counts 12-20
(Violation of the Lacey Act: False Labeling of Wildlife)

41. The Federal Grand Jury incorporates paragraphs 1 and 7-17 by reference.
42. Onor about the dates listed below, in the Western District of Oklahoma and

elsewhere,

JOSEPH MALDONADO-PASSAGE,
a/k/a Joseph Allen Maldonado,
a/k/a Joseph Allen Schreibvogel,
a/k/a “Joe Exotic,”

 

 

knowingly made and submitted and caused to be made and submitted a false record,
account, and label for, and a false identification of the following wildlife with a market
value greater than $350, that was transported and that was intended to be transported in
interstate commerce. Specifically, MALDONADO-PASSAGE designated and caused to

be designated on delivery forms and Certificates of Veterinary Inspection (CVIJ) that the

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wildlife was being donated to the recipient or transported for exhibition only, when he

knew that, in fact, the wildlife was being sold in interstate commerce:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Count | Date Animal False Recipient/
Form Destination
12 | 11/16/16 | Tiger, male, cub Delivery Brown Zoo,
form Illinois
13 | 12/15/16 | Lion, female, 5 years old Delivery Monterey Zoo,
form California
14 | 12/16/16 | African lion, female, 5 years old CVI Monterey Zoo,
California
15 6/11/17 | Lion, white female, 6 weeks old | Delivery T.S.,
form Indiana
16 2/3/18 | Tiger, female, 11 weeks old Delivery T.S.,
form Indiana
17 3/6/18 | Tiger, female, 6 weeks old Delivery | Brown’s Oakridge
form Zoo, Illinois
18 6/12/18 | African lion, male, 8 years old CVI Animal Haven Zoo,
African lion, female, 8 years old Wisconsin
19 6/13/18 | Lion, male, 5 years old Delivery | Animal Haven Zoo,
Lion, female, 7 years old form Wisconsin
20 6/18/18 | Lion, male, 2 weeks old Delivery Branson Wild
Lion, male, adult, “Moses” form World, Missouri

 

All in violation of Title 16, United States Code, Section 3372(d)(2), and Section
3373(d)(3)(A)(ii), and Title 18, United States Code, Section 2.

Count 21
(Violation of the Lacey Act: False Labeling of Wildlife)

43. The Federal Grand Jury incorporates paragraphs 1 and 7-16 by reference.
44. On or about September 29, 2017, in the Western District of Oklahoma and

elsewhere,

 

JOSEPH MALDONADO-PASSAGE,
a/k/a Joseph Allen Maldonado,
a/k/a Joseph Allen Schreibvogel,
a/k/a “Joe Exotic,”

 

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knowingly made and submitted a false record, account, and label for, and a false
identification of wildlife, namely a 10-week-old female lemur, with a market value greater
than $350, in that MALDONADO-PASSAGE created a delivery form showing that the
lemur was donated from himself to Ringling Animal Care, in Ringling, Oklahoma, when
he knew that, in fact, the lemur had been sold and transported in interstate commerce.

All in violation of Title 16, United States Code, Section 3372(d)(2), and Section

3373(d)(3)(A)(ii), and Title 18, United States Code, Section 2.

A TRUE BILL:

[ebb Jr —

FOREPERSON OF THE GRAND JURY

ROBERT J. TROESTER
First Assistant United States Attorney

Utnde- Cpr

AMANDA GREEN
Assistant U.S. Attorney

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